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UNITED STATES OF AMERICA ‘ i

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UNITED STATES DISTRICT COUR Cam
FOR THE WESTERN DISTRICT OF MICHIB

SOUTHERN DIVISION

 

RICHMOND BROWN TAYLOR,SR., Cestui CASE NO.
Que Vie Trust,

Plaintiff/Petitioner/Creditor, Honorable: 202
and

Richmond Brown of the family Taylor,

Sole Beneficiary of the RICHMOND FRCVP RULE 60.(b)(1)(3)(4)(5)(6)
BROWN TAYLOR,SR., Cestui Que Vie (d)(1)(2)(3).
Trust,

3rd Party Interest Intervener
Under Injury,

VS.
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UNITED STATES OF AMERICA, INC., A alt ff

STATE OF MICHIGAN, fi* fa ie

RICK SNYDER, GOVERNOR OF MI.,

BRIAN CALLEY, Lt.GOVERNOR, AND

DANIEL H. HEYNS, DIRECTOR., ET AL,
Defendants/Respondents/Debtors.

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WILLIAM H BONNE Ki byvorah 6. Jayla Le Lec,

NOTARY PUBLIC - STATE OF MICHIGAN

 

 

 

 

 

COUNTY OF CHIPPEWA
My Commission Expires March 24, 2019 THy lok ,
Acting in the County of Chippewa

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STATE OF

MICHIGAN

30th JUDICIAL CIRCUIT COURT FOR THE COUNTY OF INGHAM

CITY OF LANSING

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RICHMOND BROWN TAYLOR,SR., Cestui
Que Vie Trust,
Plaintiff/Petitioner/Creditor,

and

Richmond Brown of the family Taylor,
Sole Beneficiary of the RICHMOND
BROWN TAYLOR,SR., Cestui Que Vie
Trust,

3rd Party Interest Intervener
Under Injury,

VS.

UNITED STATES OF AMERICA,INC.,

STATE OF MICHIGAN,

RICK SNYDER, GOVERNOR OF MI.,

BRIAN CALLEY, Lt.GOVERNOR, AND

DANIEL H. HEYNS, DIRECTOR., ET AL,
Defendants/Respondents/Debtors.

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Creditor's Petition/Complaint is in
accord with, (MCR 2.101(B);MCL 600.
6434).

He's an indigent prisoner at this
time and costs/fees must be waived
MCR 2.002(D)(F).

Court Of Claims Case Codes are be-
low in accord with (MCR 8.117)

The clerk may waive the summons re-

quirements and assign a judge and
ease no. (MCR 2.102)

C.O.U.B.T..O.F. .C.L.A.I.MS..C.A.S.B. CODES:
HIGHWAY DEFECTS ~"——<a—CtéC‘<aCt”t”t”;”*;*é<~;:S:tét‘i‘iéia SC

HEALTH CARE PROVIDER MALPRACTICE
CONTRACTS #*

CONSTITUTIONAL CLAIMS

PRISONER LITIGATION

TAX_ RELATED. SUITS

ALL OTHER CLAIMS FOR MONEY DAMAGES

SSS RRS

This Creditor respectfully requests case code MK for Contract issues.

P.E.71_T_1.0.N..C_O.M P.L.A.I_N_T..B_E.L.O.W
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P.E.T.I.T_2.0_N

I.N..T.H.E..C.0.U.B8 T..O.F. 0 LatIMS
3.0.7.0. .J.U.D.I.C T.A.b..C.I.B.C U.IT
V.E.T.E.R.A.N.S..ME.M.O_R.T.A.L..C.0.U.B.T.0.0.U_S_E

NOW COMES the Creditor, Dr.Richmond. Brown. Tavlor,Sr.,P.b.D., pursuant to
JUDICATURE ACT OF 1961, Chapter 64., Court of Claims, MCL 600.6421; MCL
600.6437, 6440, 6455, 6458, and possible Precedents stemming from a State
Court's CERTIFICATE OF APPEALABILITY states the following:

1. Plaintiff/Petitioner/Creditor have never filed a claim, in the court of
claims, for the county of ingham, lansing michigan since and up onto this point.

2. This plaintiff takes control of his situation commercially, as a right
in commercial law, and will guide the court effectively, for the relief sought,
stating that he appeals from the 3rd Judicial Circuit Court's decision in
contract court, transferring his claims to the court of claims, on FEBUARY.13th
2013, and stating in its Order that the court/CAYMC didn't hand down its Order
until MARCH. 20tb. 2013 and plaintiff didn't receive its Order until MARCH. 25th
2013, and for further information for the court of claims, another later Order
from that court was handed down on Q4/03/13.date_of the envelope, contents dated
for_02/13/13_received by. plaintiff.047057T3,

5. Exhibit 1 is an Order dated for March. 20th.2013 by the CAYMC/contract
court, and Exhibit 2 is factual information from Chief Judge Hon.Lita Masini
Popke granting a State Court's CERTIFICATE OF APPEALABILITY.

4. Plaintiff have put on NOTICE the defendants in this matter, of his legal
position, and his rights to be released from prison, but the defendants have
handed the matter to the warden to decide who in turned denied plaintiff, on the
grounds that the warden is not the court/or a court meaning that plaintiff's
issues is for a court to decide: from 2010 to 2012 plaintiff have been
petitioning and making a record of his complaints before the defendants of
record.

5. Exhibit 3 is a demand for REQUEST AND WRIT FOR GARNISHMENT, or however
the court choose to grant such relief in the amount of $20,000,000.00 to
$100,000,000.00 to the effect, that if the court cannot rule in favor of the
plaintiff, it should say so, and jurisdictionally forward such a claim to the
UNITED SATES DISTRICT COURT - B 35 410 W. Michigan Ave. Kalamazoo Michigan 49007
(269) 337-5706 / in the form of a CERTIFICATE OF APPEALABILITY please, because
plaintiff does have a claim, and perhaps the court of claims cannot handle such
an amount just yet, but may can do so in small disbursements if agreed upon by
stipulations of the parties.

6. Also attached for the court of claims records, will be and is, an intent
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to garnishee defendant in the Federal Court for his rightful release from
prison/satisfying the judgments and lien discharged of and on any debt owed by
plaintiff.

7. Plaintiff provides proof of his Cestui.Que. Vie Trust legal positions,
and the court of claims must and is allowed to "Adopt" plaintiff legal position
in order, to grant the respectful relief sought. The court must sign the ORDER
attached for same ORDER FOR ADOPTION for the remedy in substitution for same,
until plaintiff returns to his respectful place in society / in the working
class.

 

8. Attached to this petition is one of the actual complaints, in the
record, and the court of claims must consider same for its just, reasons to move
in favor of plaintiff. Also attached to complaint, is plaintiff's common law
copyright which does give plaintiff standing to file claims against Officials
who are in their state capacity(s).

9. Plaintiff provides proof that he's indeed indigent, and the court of
claims must waive same, and waive the requirements of the SUMMONS rules, of the
court, and Order that defendants answer this complaint in 56 days upon receipt

of the court's Order to do so/for procedural safeguard protection for
plaintiff's rights and legal position.

Relief Sought

WHEREFORE, plaintiff moves the Court of Claims, to grant all relief in this
matter, and what evermore relief it deems appropriate for him.

vacedsapesr. YA 2015, CC:Court of Claims/Federal Court

Attorney General's Office.

Dr. Richmond Broa Taylor, Sr.,P.h.D.
